     Case 4:08-cr-00315-RSB-CLR Document 1244 Filed 09/17/10 Page 1 of 1

                                                                  FILED
                                                           U.S. DISTRICT COURT
                                                             SAVANNAH DIV.
                IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA!O SEP 11 pn ...
                           SAVANNAH DIVISION

ANTHONY LEE BUTLER,
                                                         CLERM?2OO7Z,
                                       )                     SO. 01ST. OP GA.

       Plaintiff,

V.                                            CASE NOS. CV410-139
                                                        CR4 08-315
UNITED STATES OF AMERICA,

       Defendant.


                                  ORDER

       Before the Court is Plaintiff Anthony Lee Butler's "Motion

to Object Order", which was filed on July 23, 2010. (Doc. 6.)

The motion appears to be objections to the Magistrate Judge's

June 16, 2010 report and recommendation, objections to which

were due by June 30, 2010. (Doc. 2.) However, the Court will

construe Plaintiff's motion as a request for reconsideration and

review the report and recommendation in light of his objections.

After a careful de novo review of the record and Plaintiff's

objections, the Court sees no reason to disturb its prior order

adopting the report and recommendation of the Magistrate Judge.

Accordingly, Plaintiff's motion is DENIED.

       SO ORDERED this I / day of September 2010.




                              WILLIAM T. MOORE, JR. V
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
